ae Case 1:25-cr-00191-EGS Document6 Filed 07/17/25 Pageiofi1
AO 442 (Rev. 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT
for the FID 11831932

District of Columbia] RECEJVED

By USMS District of Columbia District Court at 4:48 pm, Jul 09, 2021

United States of America
Vv. ) Case: 1:25-cr-00191
SETH JASON ) Assigned To: Judge Sullivan, Emmet G.
Assign Date: 7/9/2025
- - ) Description: INDICTMENT (B)
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) SETH JASON _ - _4
who is accused of an offense or violation based on the following document filed with the court:

& Indictment © Superseding Indictment Information (© Superseding Information © Complaint
© Probation Violation Petition C) Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 115(a)(1)(A) - Influencing Federal Official by Threatening Family Member
18 U.S.C. § 115(a)(1}(B) - Influencing Federal Official by Threat

18 U.S.C. § 875(c) - Interstate Communications with a Threat to Kidnap or Injure

47 U.S.C. § 223(a)(1}(C) - Anonymous Telecommunications Harassment

6 Mild,
Date: _ 07/09/2025
Issuing officer's signature
City and state: _ Washington, DC G. Michael Harvey, U.S. Magistrate Judge
Printed name and title
Return
This warrant was recejved on as 6+ le AQ [ 1s L-), and the person was arrested on (date) OL \ + 22S

at (city and state) \hos A ae,

pate: ©] | |

Arrestfhg officer's signature

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